   Case 2:20-cr-00449-BRM Document 1 Filed 06/02/20 Page 1 of 10 PageID: 1                C2


2019R01345/BJC


                          UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW JERSEY

UNITED STATES OF AMERICA                     :     Criminal No. 20- 449-BRM
                                             :
       v.                                    :
                                             :
JEFFREY MADISON                              :     18 U.S.C. § 371


                                  INFORMATION

       The defendant having waived in open court prosecution by indictment, the

United States Attorney for the District of New Jersey charges:

                  (Conspiracy to Violate the Anti-Kickback Statute)

       1.        At all times relevant to this Information:

                  The Defendant and Related Clinical Laboratories

                 a.     Defendant JEFFREY MADISON (“defendant MADISON”) was

a resident of Plano, Texas, and co-owned with co-conspirator Sherman

Kennerson (“co-conspirator Kennerson”) and others, Metric Lab Services, LLC

(“Metric Lab”) and Spectrum Diagnostic Labs, LLC (“Spectrum Lab”) (together,

the “Labs”).

                 b.    Metric Lab was a clinical laboratory located in Mississippi that

performed genetic tests and submitted claims to Medicare.

                 c.    Spectrum Lab was a clinical laboratory located in Texas that

performed genetic tests and submitted claims to Medicare.

                 d.    The Labs were approved providers of the Medicare Program

(“Medicare”), and Medicare paid the Labs for performing genetic tests and related

services on Medicare beneficiaries who were referred to the Labs.
Case 2:20-cr-00449-BRM Document 1 Filed 06/02/20 Page 2 of 10 PageID: 2
Case 2:20-cr-00449-BRM Document 1 Filed 06/02/20 Page 3 of 10 PageID: 3
Case 2:20-cr-00449-BRM Document 1 Filed 06/02/20 Page 4 of 10 PageID: 4
Case 2:20-cr-00449-BRM Document 1 Filed 06/02/20 Page 5 of 10 PageID: 5
Case 2:20-cr-00449-BRM Document 1 Filed 06/02/20 Page 6 of 10 PageID: 6
Case 2:20-cr-00449-BRM Document 1 Filed 06/02/20 Page 7 of 10 PageID: 7
Case 2:20-cr-00449-BRM Document 1 Filed 06/02/20 Page 8 of 10 PageID: 8
Case 2:20-cr-00449-BRM Document 1 Filed 06/02/20 Page 9 of 10 PageID: 9
Case 2:20-cr-00449-BRM Document 1 Filed 06/02/20 Page 10 of 10 PageID: 10
